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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVIVISON

FRIEDA AARON, et al.,             :             CASE NO. 1:13-CV-202
                                  :
         Plaintiffs,              :             JUDGE TIMOTHY S. BLACK
                                  :
    vs.                           :             PLAINTIFFS’ MOTION TO STRIKE
                                  :             DEFENDANTS ABUBAKAR ATIQ
         Defendants.              :             DURRANI'S, M.D. AND THE CENTER
                                  :             FOR ADVANCED SPINE
ABUBAKAR ATIQ DURRANI, MD et al., :             TECHNOLOGIES, INC.'S MOTION
                                  :             TO DISMISS



       Comes now, Plaintiffs, and hereby moves the Court to Strike Defendants Abubakar Atiq

Durrani's, M.D. (Durrani) and Center for Advanced Spine Technologies, Inc.'s (CAST) Motion

to Dismiss Plaintiffs' Complaint. Because Defendants' motion is untimely, the Court should

strike Defendant's motion. A Memorandum in support and proposed Order granting Plaintiffs'

Motion is attached hereto.


                                                Respectfully Submitted,

                                                /s/ Eric C. Deters____________________
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                              MEMORANDUM IN SUPPORT


I. Introduction

       The motion filed by Defendants is untimely and warrants the Court to strike their motion.

“A motion under Rule 12(b)(6) raising the defense of failure to state a claim upon which relief

may be granted must be made before the service of a responsive pleading.” Wright & Miller,

Federal Practice & Procedure: Civil 2d § 1357, at 299-300 (1990). Defendants filed their

Answer to the First Amended Complaint as Document 88, on December 2 nd. Later on December

2nd, Defendant filed their Motion to Dismiss the Complaint as Document 89.

       A 12(b)(6) motion to dismiss a complaint is an alternative to answering a plea for relief.

Baker v. Ohio Dept. of Rehab. & Corr., 144 Ohio App.3d 740, 754, 2001-Ohio-2553, 761

N.E.2d 667. As such, after an answer to the complaint is filed, the Defendant may no longer file

a 12(b)(6) motion to dismiss the complaint, but may instead file a 12(c) motion for judgment on

the pleadings.

II. Conclusion

       For the aforementioned reasons, Plaintiffs' move this Court to strike Defendants' motion

to dismiss.




                                                    Respectfully Submitted,

                                                    /s/ Eric C. Deters____________________
                                                    Eric C. Deters, Esq




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                                 CERTIFICATE OF SERVICE

         The foregoing document was filed electronically this 15th day of January 2014. Notice
of filing will be sent to all parties by operation of the Court’s electronic filing system. Parties
may access this filing through the Court’s system.


                                                      /s/ Eric C. Deters__________________
                                                      Eric C. Deters




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